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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 V.                                             §            CRIMINAL NO. 6:02-CR-64-002
                                                §
 WENDELL HAYS                                   §

                                             ORDER

        The above entitled and numbered criminal action was referred to United States Magistrate

 Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge which

 contains his proposed findings of fact and recommendations for the disposition of such action has

 been presented for consideration. The parties filed no objections to the Report and

 Recommendations.

        The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as the

 findings and conclusions of this Court. The Court DISMISSES the petition to revoke supervised

 release against Defendant, Wendell Hays. Further, the Court ORDERS that Defendant be allowed

 to finish out his supervised release period under his current conditions of supervised release,

 modified by the condition that Defendant not be permitted to drive during the remaining period of

 supervised release.

         So ORDERED and SIGNED this 9th day of July, 2007.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE
